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14                                 UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN FRANCISCO DIVISION

17
     DELL INC. and DELL PRODUCTS L.P.,
18
                                   Plaintiffs,                     Master File No. 3:07-cv-05944-SC
19
            v.
                                                                   MDL No. 1917
20   HITACHI, LTD., et al.,
                                   Defendants.                     Individual Case No. 3:13-cv-02171-SC
21
                                                                   [PROPOSED] ORDER REGARDING
22                                                                 DELL’S ADMINISTRATIVE
                                                                   MOTION TO CONFIRM ITS OPT
23                                                                 OUT REQUEST OR, IN THE
                                                                   ALTERNATIVE, FOR AN
24                                                                 ENLARGEMENT OF TIME TO OPT
                                                                   OUT
25

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     [PROPOSED] ORDER RE DELL’S ADMIN. MOTION                              MASTER FILE NO. 3:07-CV-05944-SC
     TO CONFIRM OPT OUT REQUEST                                  MDL NO. 1917 │ IND. CASE NO. 3:13-cv-02171-SC
            Case 4:07-cv-05944-JST Document 2696-6 Filed 07/22/14 Page 2 of 2



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 3                                          [PROPOSED] ORDER
 4          Upon consideration of the Dell Plaintiffs’ Administrative Motion to Confirm its Opt Out
 5   Request or, in the Alternative, for an Enlargement of Time to Opt Out, it is hereby
 6          ORDERED that the Administrative Motion is GRANTED; and it is further
 7          ORDERED that Dell shall be excluded from the SDI and Hitachi Settlement Classes.
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 9   Dated: ___________________, 2014
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12                                                  The Honorable Samuel Conti
                                                    Northern District of California
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     [PROPOSED] ORDER RE DELL’S ADMIN. MOTION                            MASTER FILE NO. 3:07-CV-05944-SC
     TO CONFIRM OPT OUT REQUEST                                MDL NO. 1917 │ IND. CASE NO. 3:13-cv-02171-SC
